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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



                                    )
    THE HOMESOURCE, CORP.           )
                                    )
               Plaintiff,           )
                                               Case No. 1:18-cv-11970
                                    )
          v.                        )
                                               Hon. Eduardo C. Robreno (EDPA)
                                    )
    RETAILER WEB SERVICES, LLC,
                                    )
    RETAILER WEB SERVICES II, LLC,             Oral Argument Requested
                                    )
    NATIONWIDE MARKETING GROUP,
                                    )
    LLC, GRIDIRON CAPITAL, LLC, and            Motion Day: July 20, 2020
                                    )
    JOHN DOES,
                                    )
               Defendants.          )
                                    )


                     MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANT GRIDIRON CAPITAL, LLC’S MOTION TO DISMISS
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                                   PRELIMINARY STATEMENT

          In 2018, Retailer Web Services, LLC (together with its affiliate, Retailer Web Services II,

   LLC, “RWS”) circulated emails to its existing and prospective customers in which it answered

   customers’ questions about its competitor, The HomeSource, Corp. (“HomeSource” or

   “Plaintiff”), and the White family, which controls HomeSource and other businesses. Apparently

   embarrassed by the emails’ accurate descriptions of public litigation records, Plaintiff is now

   attempting to shift attention to RWS by filing this litigation and willfully misconstruing a handful

   of RWS’s statements as somehow false and defamatory. However, as addressed below, and in

   more detail in Defendant RWS’s motion to dismiss, 1 Plaintiff’s Second Amended Complaint

   (“Complaint”), ECF No. 164, is comprised of nothing but conclusory and scattershot allegations,

   none of which make out a valid claim against RWS.

          In addition to suing RWS to silence it as a competitor, Plaintiff has since amended its

   complaint in an attempt to entangle Defendant Gridiron Capital, LLC (“Gridiron”) in the dispute,

   based on its assertion that RWS and Gridiron (as well as Defendant Nationwide Marketing

   Services, LLC (“Nationwide”)) are “related companies.” That nebulous term is presumably a

   reference to Gridiron’s and Nationwide’s alleged investment in RWS in February 2018. Of course,

   an investor does not become liable for claims against a limited liability entity as a matter of

   fundamental corporate law, and Plaintiff’s other attempts to rope Gridiron into this lawsuit based

   on RWS’s alleged conduct are even more flawed than its defective underlying claims against RWS.

          As a threshold matter, Plaintiff fails to plead any facts sufficient to establish personal

   jurisdiction over Gridiron in New Jersey. Gridiron is organized under Delaware law and based in



   1
    Whereas Gridiron’s original date to file its answer or motion to dismiss was set for June 12, 2020
   based upon the timing of its waiver of service, the parties agreed to extend that filing date to June
   15, 2020, such that all responses to the Complaint would be filed on the same date.
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   Connecticut, and the Complaint fails to allege any conduct by Gridiron that occurred in or was

   directed toward New Jersey.

           Further, Plaintiffs’ add-on claims against Gridiron are purely dependent on its underlying

   claim against RWS. Apart from failing to allege facts sufficient to support those underlying

   claims, Plaintiff also fails to plead any basis for secondary liability against Gridiron. For instance,

   Plaintiff’s claim for “contributory liability” under the Lanham Act does not even exist as a matter

   of law. And its “conspiracy” claim against Gridiron, through which Plaintiff seeks to hold Gridiron

   liable for various tort claims asserted against RWS, fails to allege requisite facts showing any

   agreement or meeting of the minds among the alleged conspirators. Plaintiff’s “alternative”

   vicariously liability claims—which themselves confirm that not even Plaintiff believes its own

   conspiracy allegations—are likewise unsupported by any allegation that Gridiron controlled RWS

   or ignored RWS’s corporate form, and necessarily fail as well.

           Gridiron therefore respectfully requests that this Court grant its Motion to Dismiss.

                                                  FACTS

           On July 20, 2018, RWS emailed a newsletter to its existing and prospective customers.

   Compl. Ex. A (the “July 20 Newsletter,” or the “Newsletter”).2 The July 20 Newsletter stated in

   part:

                  Public trials are part of the public record; anyone can view the
                  official documents and transcripts of the lawsuits a company and
                  their officers have been involved in. The White family, owners of
                  HomeSource and similar other businesses, appear to have a history
                  of their business relationships ending in lawsuits against them.



   2
     Plaintiff also references and attaches to the Complaint a newsletter sent on July 17, 2018 (Compl.
   Ex. B, the “July 17 Newsletter”), which Plaintiff incorrectly describes as having been sent “[o]n
   or about July 16, 2018.” See Compl. ¶ 31. While Plaintiff alleges that RWS made an untrue
   statement about itself in the July 17 Newsletter, Compl. ¶¶ 31-32, the July 17 Newsletter and its
   contents are not referenced again elsewhere in the Complaint.


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                  They were found guilty of making negligent misrepresentations
                  about the capabilities of their software in a federal lawsuit (Civil
                  Action No. 3:12-CV-0090). In a unanimous decision, the jury
                  awarded their customer – Furniture Distributors Inc, a chain of
                  furniture stores – $450,000. The judge later deemed the counter-
                  claims they alleged along the way “totally meritless” and ordered
                  them to pay Furniture Distributors Inc. fifty thousand dollars to
                  reimburse attorney fees in addition to the four hundred fifty
                  thousand dollars already awarded them at trial.

   Id. at 5 (emphasis in original). The Newsletter went on to quote directly and at length from a

   decision from Judge Graham C. Mullen in that case, and then stated:

                  Despite the ruling, Furniture Distributors Inc sued Homesource
                  again when Homesource failed to make any of the payments
                  ordered (Case 3:15-CV-00313). In this federal lawsuit, their
                  former customer alleged the White family fraudulently
                  transferred assets to prevent having to pay the judgement and
                  engaged in unfair and deceptive trade practices.

                  Their 2nd suit against the Whites cited yet another federal lawsuit
                  Homesource was involved in at the time (Case 3:15-CV-00122).
                  This suit was filed by Martin Salas, a consultant Homesource hired
                  after the previous judgement to sell their products and assist in the
                  transferring of assets, when he alleges Homesource failed to pay his
                  outstanding compensation of $10,000/month and document the
                  ownership stake he was promised in the White family entities. You
                  can read his account in Exhibit B.

   Id. at 6 (emphasis in original). RWS provided hyperlinks to original litigation documents, and

   even included a screenshot from a portion of a deposition in one of the cases. Id. at 5-7.

          The Newsletter also remarked on HomeSource’s service offerings, including statements

   that “HomeSource websites display[ed] product images with a Plessers.com watermark,” and that

   RWS had “unearthed a possible major security concern with HomeSource sites.” Id. at 4-5. These

   statements were accompanied by several hyperlinks to a video created by RWS, permitting readers

   “learn more” about this information. Id. at 5.




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             Three days after the July 20 Newsletter was sent out, Plaintiff sued RWS, bringing claims

   for false and misleading advertising under the Lanham Act, defamation, tortious interference with

   prospective economic advantage, tortious interference with contract, and common law and federal

   unfair competition. ECF No. 1. Nearly two years later, on April 1, 2020, Plaintiff filed a Second

   Amended Complaint in which it named Gridiron as an additional defendant. ECF No. 164. In it,

   Plaintiff asserted claims against Gridiron for contributory liability for false and misleading

   advertising under the Lanham Act; civil conspiracy to commit false and misleading advertising

   under the Lanham Act, defamation, tortious interference with prospective economic advantage,

   tortious interference with contract, and common law and federal unfair competition; and, in the

   alternative, vicarious liability for defamation, tortious interference with prospective economic

   advantage, tortious interference with contract, and common law and federal unfair competition.

   See generally Compl.

             Plaintiff’s contributory liability and conspiracy claims with respect to Gridiron

   fundamentally turn on the conclusory allegation that “RWS, Nationwide, and Gridiron conspired

   to begin a smear campaign against HomeSource[.]” Id. ¶ 28. Specifically, Plaintiff alleges that

   Gridiron held strategy meetings and exchanged emails regarding the Newsletter, and that Gridiron

   ultimately approved its dissemination. Id. ¶¶ 29-30. Plaintiff’s vicarious liability claims are based

   on Gridiron’s alleged exercise of control over RWS during the relevant time period. Id. ¶¶ 163-

   65. These sparse allegations constitute the extent of Gridiron’s purported involvement in this

   matter.




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                                              ARGUMENT

   I.     THE COURT SHOULD GRANT GRIDIRON’S MOTION TO DISMISS FOR
          LACK OF PERSONAL JURISDICTION.

          “A federal court sitting in New Jersey has jurisdiction over parties to the extent provided

   under New Jersey state law.” Croat v. Mission Fine Wines, Inc., 2020 WL 1921955, at *2 (D.N.J.

   Apr. 21, 2020) (quoting Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 96 (3d Cir. 2004)). Since

   “[t]he New Jersey long-arm statute permits the exercise of personal jurisdiction to the fullest limits

   of due process,” the “central inquiry is whether Defendant has ‘certain minimum contacts with . . .

   [New Jersey] such that the maintenance of the suit does not offend traditional notions of fair play

   and substantial justice.’” Croat, 2020 WL 1921955, at *2 (alterations in original) (first quoting

   IMO Indus., Inc. v. Kiekert AG, 155 F.3d 254, 259 (3d Cir. 1998)); then quoting Int’l Shoe Co. v.

   Washington, 326 U.S. 310, 316 (1945)). Upon a motion to dismiss, the plaintiff bears “the burden

   of demonstrating facts that establish[] personal jurisdiction.” Fatouros v. Lambrakis, 627 F.

   App’x. 84, 86-87 (3d Cir. 2015). The Supreme Court has “recognized two types of personal

   jurisdiction: general and specific.” Bristol-Myers Squibb Co. v. Super. Ct. of Cal., S.F. Cty., 137

   S. Ct. 1773, 1779-80 (2017). Here, Plaintiff has not pled facts showing Gridiron is subject to either

   in New Jersey, and the Complaint should be dismissed accordingly.

   A.     The Court Lacks General Jurisdiction Over Gridiron.

          “General jurisdiction applies where the defendant’s ‘affiliations with the State are so

   ‘continuous and systematic’ as to render them essentially at home in the forum state.’” Grupo

   Rayco C.A. v. Delta Air Lines, Inc., 2020 WL 2189994, at *2 (D.N.J. May 6, 2020) (quoting

   Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). For a corporation,

   its “place of incorporation and principal place of business are paradigm bases for general

   jurisdiction.” Levy v. Jaguar Land Rover N.A., LLC., 2020 WL 563637, at *5 (D.N.J. Feb. 4,



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   2020) (quoting Daimler AG v. Bauman, 571 U.S. 117, 137 (2014)). “Courts have applied the

   Daimler rules to limited liability companies with equal force.” Griggs v. Swift Trans. Co., Inc.,

   2018 WL 3966304, at *2, *2 n.26 (D.N.J. Aug. 17, 2018) (listing cases and noting that “[a]lthough

   the language of Daimler speaks only in terms of corporations, the subsidiary at issue in Daimler

   was…an LLC, [and] the Court looked to [its] place of incorporation and principal place of business

   to determine whether it was essentially at home in [the forum state] and thus subject to general

   jurisdiction in the [s]tate”).

           As Plaintiff concedes in its Complaint, Gridiron is neither incorporated in New Jersey nor

   does it maintain its principal place of business there. See Compl. ¶ 11. Instead, Plaintiff makes a

   single, cursory allegation that “Gridiron is engaged in the systematic and continuous conduct of

   business in the State of New Jersey.” See Compl. ¶ 17. However, such a conclusory allegation is

   insufficient to demonstrate general jurisdiction. See, e.g., Mendez v. Law Offices of Cohen &

   Slamowitz, LLP, 2011 WL 5828573, at *2 (D.N.J. Nov. 18, 2011). Because Plaintiff fails to allege

   any incidents of Gridiron’s systematic and continuous conduct of business in New Jersey—

   whether in maintaining offices in New Jersey, owning, leasing, or operating property in New

   Jersey, regularly conducting or transacting business in New Jersey, or otherwise—general

   jurisdiction is “clearly lacking.” Croat, 2020 WL 1921955, at *3.3




   3
    Plaintiff has not pled facts sufficient to establish personal jurisdiction over Gridiron because it
   cannot do so. Gridiron is a Delaware corporation; has its principal place of business in
   Connecticut; is not registered in New Jersey; does not maintain a registered agent for service of
   process in New Jersey; and does not maintain corporate offices, own or lease any property, or
   maintain any bank accounts in New Jersey. See Ex. A (Declaration of Owen Tharrington In
   Support of Gridiron Capital, LLC’s Motion to Dismiss For Lack of Personal Jurisdiction), filed
   herewith.


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   B.      The Court Lacks Specific Jurisdiction Over Gridiron.

           A district court may exercise specific jurisdiction when a defendant has “purposefully

   directed his activities at the forum;” “the plaintiff’s claim . . . arise[s] out of or relate[s] to at least

   one of those specific activities;” and “the assertion of jurisdiction otherwise comports with fair

   play and substantial justice.” Marten v. Godwin, 499 F.3d 290, 296 (3d Cir. 2007). In the case of

   an intentional tort, Plaintiff must sufficiently allege that “the defendant committed an intentional

   tort;” “[t]he plaintiff felt the brunt of the harm in the forum such that the forum can be said to be

   the focal point of the harm suffered by the plaintiff;” and the defendant “expressly aimed his

   tortious conduct at the forum, such that the forum can be said to be the focal point of the tortious

   activity.” IMO Indus., 155 F.3d at 265–66. Critically, both standards require more than just a

   foreseeability of harm in the forum; rather, a defendant must have “intentionally targeted” the

   forum such that it “should reasonably anticipate being haled into court” there. Marten, 499 F.3d

   at 297-98 (quoting World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)).

           Here, Plaintiff pleads no facts establishing that Gridiron intentionally targeted New Jersey

   in any way. Instead, Plaintiff asserts in purely conclusory terms that “Gridiron expressly aimed

   tortious conduct at HomeSource, a New Jersey corporation, such that the defendant could

   reasonably anticipate being haled into district court in New Jersey[.]” See Compl. ¶ 17. Even

   assuming that Gridiron knew that Plaintiff was located in New Jersey—which Plaintiff does not

   allege—this allegation alone would be insufficient to confer specific jurisdiction: “knowledge

   that the plaintiff is located in the forum . . . is insufficient to satisfy the targeting prong of the

   effects test.” IMO Indus., Inc., 155 F.3d at 266 (emphasis added); see also Intellect Design Arena,

   Inc. v. DataCubes Inc., 2020 WL 2832568, at *5 (D.N.J. June 1, 2020) (granting motion to dismiss

   for failure to establish specific jurisdiction, holding that, “Targeting Plaintiff, which is located in

   New Jersey, is not the same as targeting New Jersey.”).


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          In cases involving allegedly defamatory or otherwise tortious communications, the Third

   Circuit and courts in this district have repeatedly focused on the state where the communications

   in question were sent and received for purposes of personal jurisdiction—not the domicile of the

   defendant. For example, in Remick v. Manfredy, the Third Circuit expressly held that a district

   court lacked personal jurisdiction over claims related to allegedly defamatory letters distributed

   through plaintiff’s professional community because, as is the case here, the plaintiff had not

   adequately pled that recipients had any “unique relationship” with the forum such that the alleged

   tort was targeted at said forum. 238 F. 3d 248, 259 (3d Cir. 2001) (upholding dismissal for lack

   of personal jurisdiction). That forecloses personal jurisdiction over Gridiron in this case, because

   Plaintiff has not alleged that even a single recipient of the allegedly tortious communications

   received them in New Jersey, let alone that these recipients had any “unique relationship” with

   New Jersey such that New Jersey was the “focal point” of any alleged tort.

          As recently as two weeks ago, a court in this district relied on Remick while dismissing

   claims almost identical to Plaintiff’s for lack of personal jurisdiction. In Intellect Design, the

   plaintiff sued defendants for false advertising under the Lanham Act, defamation, and common

   law unfair competition after the defendants allegedly sent the plaintiff’s customers a message on

   LinkedIn containing allegedly false statements about the plaintiff. 2020 WL 2832568, at *1. The

   court dismissed all claims, because “even assuming that Defendants directed the alleged attack at

   Plaintiff’s clients across the country, and some of these clients are located in New Jersey[,] such

   allegations are insufficient to confer specific jurisdiction on Defendants, because they fail to show

   that Defendants expressly aimed their conduct at New Jersey.” Id. at *5. As in Intellect Design,

   Plaintiff here has not “point[ed] to specific activity indicating that [Gridiron] expressly aimed [its

   allegedly] tortious conduct at New Jersey.” Id. (quoting Remick, 238 F.3d at 258). Instead, the




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   “recipient audience” of Gridiron’s alleged conduct “is not linked by geography but by a common

   interest,” which is insufficient to establish personal jurisdiction over Gridiron. English Sports

   Betting, Inc. v. Tostigan, 2002 WL 461592, *3-4 (E.D. Pa. Mar. 15, 2002) (granting motion to

   dismiss defamation claim related to purportedly defamatory articles posted online).

          Against the backdrop of this controlling Third Circuit authority, Plaintiff has not pled in

   any way how Gridiron “expressly aimed” its alleged conduct at New Jersey, and Plaintiff’s claims

   against Gridiron accordingly should be dismissed for lack of personal jurisdiction.

   II.    THE COURT SHOULD GRANT GRIDIRON’S MOTION TO DISMISS FOR
          FAILURE TO STATE A CLAIM.

          “To survive a 12(b)(6) motion to dismiss, ‘factual allegations must be enough to raise a

   right to relief above the speculative level on the assumption that all of the allegations in the

   complaint are true (even if doubtful in fact).’” Hassell v. Budd Co., 2014 WL 3955061, at *1 n.1

   (E.D. Pa. Feb. 27, 2014) (Robreno, J.) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

   (2007)). “The Court of Appeals for the Third Circuit has made clear that after Ashcroft v. Iqbal,

   556 U.S. 662, 688 (2009), ‘conclusory or bare-bones allegations will no longer survive a motion

   to dismiss: threadbare recitals of the elements of a cause of action, supported by mere conclusory

   statements, do not suffice. To prevent dismissal, all civil complaints must now set out sufficient

   factual matter to show that the claim is facially plausible.’” Hassel, 2014 WL 3955061, at *1 n.1

   (Robreno, J.) (quoting Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d. Cir. 2009)).

   A.     Plaintiff’s Purported Claim for Contributory Liability for False and Misleading
          Advertising Under the Lanham Act Does Not Exist At Law.

          In Lexmark International, Inc. v. Static Control Components, Inc., the U.S. Supreme Court

   held that a plaintiff suing for false or misleading advertising under § 1125(a) of the Lanham Act

   “must show economic or reputational injury flowing directly from the deception wrought by the

   defendant’s advertising.” 572 U.S. 118, 133 (2014) (emphasis added). Based on that ruling, courts


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   throughout the country have repeatedly rejected contributory false advertising claims as

   inconsistent with Lexmark’s proximate cause formulation, since a plaintiff’s injury by definition

   cannot flow directly from the actions of a contributory defendant. See, e.g., Telebrands Corp. v.

   My Pillow, Inc., 2019 WL 1923410, at *3 (N.D. Ill. Apr. 30, 2019) (finding that the Lanham Act

   does not provide for a contributory false advertising claim since such a claim would be inconsistent

   with the Supreme Court’s proximate cause formulation in Lexmark); Acad. of Drs. of Audiology

   v. Int’l Hearing Soc., 237 F. Supp. 3d. 644, 666 (E.D. Mich. 2017) (noting that the Sixth Circuit

   has not recognized a contributory false advertising claim brought under the Lanham Act and thus

   finding such a claim fails as a matter of law); Purple Innovations, LLC v. Honest Reviews, LLC,

   2017 WL 3172810, at *10 (D. Utah July 25, 2017) (declining to extend Lanham Act to allow a

   claim for contributory false advertising and noting no case law in the jurisdiction provides for such

   a claim). Neither the Third Circuit nor any district court within it has ever recognized a claim for

   contributory liability for false or misleading advertising.     Plaintiff’s cause of action should

   therefore be dismissed as a matter of law.

   B.     Plaintiff Fails to State a Claim for Civil Conspiracy Against Gridiron.

          Civil conspiracy under New Jersey law requires “(1) a combination of two or more persons;

   (2) a real agreement or confederation with a common design; (3) the existence of an unlawful

   purpose, or of a lawful purpose to be achieved by unlawful means; and (4) proof of special

   damages.” Morganroth & Morganroth v. Norris, McLaughlin & Marcus, P.C., 331 F.3d 406, 414

   (3d Cir. 2003). “[C]onclusory and unsupported allegations of a conspiracy are insufficient to state

   a claim.” Tennile v. Quintana, 443 F. App’x 670, 673 (3d Cir. 2011).

          Yet here, Plaintiff “only assert[s] bare allegations and legal conclusions unsubstantiated by

   facts in support of the alleged ‘agreement’ or ‘common design’”—such allegations cannot survive

   a motion to dismiss. Carrier v. Bank of America, N.A., 2014 WL 356219, at *9 (D.N.J. Jan. 31,


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   2014) (granting 12(b)(6) motion to dismiss civil conspiracy claim). The Complaint merely alleges

   that Gridiron “agreed” and “conspired” to “begin a smear campaign” with RWS and Nationwide,

   providing no facts supporting these conclusory allegations nor any context as to what Gridiron

   allegedly agreed or in what manner it did so. Compl. ¶¶ 28, 143. Plaintiff’s only other allegation

   even arguably relevant to conspiracy is that the Defendants “exchanged [unspecified] e-mail

   communications to coordinate” publication of the Newsletters, yet it provides nothing to connect

   such emails—or Gridiron—to the allegedly false statements in the Newsletters or any broader

   conspiracy. Compl. ¶¶ 143-44; 147-48. 4

          Such conclusory allegations come nowhere close to stating a plausible claim for civil

   conspiracy, and courts in this district have routinely dismissed fact-poor conspiracy claims like

   Plaintiff’s here. For instance, Plaintiff’s Complaint “contains no factual allegations to support an

   agreement between the parties.” See Swift v. Pandey, 2014 WL 1745040, at *10-11 (D.N.J. Apr.

   30, 2014) (emphasis in original). “Plaintiff has [also] failed to allege the approximate time when

   the agreement was made or the period of the conspiracy.” See Prince v. Aiellos, 2010 WL

   4025846, at *9 (D.N.J. Oct. 12, 2010) (dismissing civil conspiracy action for failure to state a

   claim). Moreover, even if Plaintiff were able to present facts supporting its wholly conclusory

   allegation that the Defendants “agreed to begin a smear campaign,” it would not support a civil

   conspiracy claim, since there is “no legal prohibition against targeting a specific competitor in the

   marketplace;” in fact, courts have regularly held that this is “the very essence of competition.”

   Ideal Dairy Farms, Inc. v. Farmland Dairy Farms, Inc., 659 A.2d 904, 933 (N.J. App. Div. 1995).




   4
     Plaintiff likewise offers no allegations even attempting to connect Gridiron to Plaintiff’s tortious
   interference allegations regarding RWS’s “various unlawful cyber activities” and “logging into
   HomeSource’s websites . . . without authorization,” Compl. ¶¶ 101-02, 110-11, but only makes
   the threadbare allegation that the defendants “conspired.” Compl. ¶¶ 28, 143.


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   Thus, “[e]ven drawing inferences in favor of Plaintiff, the Complaint does not allege specific facts

   indicating that [the Defendants’] alleged collaboration [] was an agreement to inflict a wrong

   against Plaintiff” rather than the “obvious alterative explanation” of routine business competition.

   The Kinesis Grp., LLC v. Troy, 2013 WL 5793446, at *2 (D.N.J. Oct. 25, 2013) (quoting Twombly,

   550 U.S. at 567-68)). Plaintiff’s allegations here simply do not support a civil conspiracy claim,

   which should be dismissed.

          Finally, and separately, “[c]ivil conspiracy is not an independent cause of action, and

   conspiracy liability depends on the presence of an underlying finding of tort liability.” Brown ex

   rel. Estate of Brown v. Philip Morris, Inc., 228 F. Supp. 2d 506, 517 n.10 (D.N.J. 2002). Because

   the torts underlying Plaintiff’s civil conspiracy claim should be dismissed for the reasons

   summarized below and stated in RWS’s Memorandum of Law in Support of its Motion to Dismiss,

   Plaintiff’s civil conspiracy claim should also be dismissed. Id. 5

   C.     Plaintiff Fails to State Any Claims for Vicarious Liability.

          Plaintiff claims, in the alternative, that Gridiron is liable based on the same claims

   underlying its conspiracy theory because, “[d]ue to the ownership interests within their corporate

   family, . . . Gridiron had the actual or apparent authority to control RWS.” Compl. ¶ 165. To the

   extent that Plaintiff is attempting to hold Gridiron “vicariously liable” based on its investment in

   RWS, it is “well-established that ‘mere ownership[,] of a subsidiary does not justify the imposition

   of liability on the parent.’” Neuss v. Rubi Rose, LLC, 2017 WL 2367056, at *3 (D.N.J. May 31,

   2017) (quoting Pearson v. Component Tech. Corp., 247 F.3d 471, 484 (3d Cir. 2001)). On the

   contrary, “[a] court may only disregard the corporate form and hold a parent company liable for


   5
    In addition, to the extent that Plaintiff has successfully pled agency, its conspiracy claim should
   be dismissed since “in New Jersey, it is well settled that a corporation which acts through
   authorized agents . . . cannot conspire with itself.” Marrin v. Cap. Health Sys., Inc., 2015 WL
   404783, at *10 (D.N.J. Jan. 29, 2015).


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   the act of its subsidiary if the plaintiff demonstrates that the subsidiary acted as the parent’s agent

   or if a basis exists to pierce the corporate veil.” Curtiss-Wright Corp. v. CNA Fin. Corp., 2012 WL

   1044493, at *5 (D.N.J. Jan. 26, 2012) (citing Phoenix Canada Oil Co. Ltd. v. Texaco, Inc., 842

   F.2d 1466, 1476-78 (3d Cir. 1988)). Yet here, Plaintiff has done neither, and is attempting to

   impose vicarious liability on Gridiron based on the vague allegations that it is related to RWS and

   that there are “ownership interests within their corporate family.”              Compl. ¶¶ 3, 165.

   Consequently, all of Plaintiff’s vicarious liability claims against Gridiron should be dismissed.

          Plaintiff Fails to Adequately Plead Any Agency.

          “A plaintiff may not simply assert in conclusory terms that a party is another party’s agent

   for purposes of vicariously liability.” TBI Unlimited, LLC v. Clearcut Lawn Decisions, LLC, 2013

   WL 1223643, at *4 (D.N.J. Mar. 25, 2013). Further, an ownership interest “does not, by that fact

   alone,” create an agency relationship. Altana Pharma AG v. Teva Pharm. USA, Inc., 2012 WL

   12906148, at *7 (D.N.J. Dec. 20, 2012) (quoting Phoenix Canada Oil Co., 842 F.2d at 1477).

   Instead, a business entity will be held liable for the activities of an affiliate only if it “dominates

   those activities.’” Ramirez v. STi Prepaid LLC, 644 F. Supp. 2d 496, 508 (D.N.J. 2009) (quoting

   Phoenix Canada Oil Co. v. Texaco, Inc., 658 F. Supp. 1061, 1084 (D. Del. 1987)).

          Here, Plaintiff does not even attempt to show that Gridiron “dominates [the] activities” of

   RWS. Ramirez, 644 F. Supp. 2d at 508 (dismissing claims were the complaint did “not set forth

   enough facts to raise a reasonable expectation that discovery will reveal evidence of an agency

   relationship”). Instead, Plaintiff relies entirely on the allegation that Gridiron is “related” to RWS,

   and Plaintiff’s vague “ownership interests” allegation, to conclude that Gridiron “exercised control

   over RWS” and “directed” RWS to carry out the smear campaign (without alleging how). See

   Compl. ¶¶ 164-65. Such allegations are simply insufficient to plead agency, and Plaintiff’s

   vicarious liability claims should be dismissed. See, e.g., Slack v. Suburban Propane Partners,


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   L.P., 2010 WL 5392845, at *14 (D.N.J. Dec. 22, 2010) (dismissing as insufficiently pled agency

   claims based on the “conclusory allegation” that a parent company “approved, authorized, enabled

   and/or ratified” its subsidiary’s purportedly illegal conduct); Wrist Worldwide Trading GMBH v.

   MV Auto Banner, 2011 WL 5414307, at *6 (D.N.J. Nov. 4, 2011) (holding agency claims “cannot

   survive a Rule 12(b)(6) motion to dismiss” where the plaintiff pled corporate ownership but failed

   to assert facts showing the parent company exercised “control or dominion” over its subsidiary).

          Plaintiff Has Not Pled Facts to Support Piercing the Corporate Veil.

          Nor has Plaintiff pled anything close to meeting the stringent standard for piercing the

   corporate veil. Absent “extraordinary circumstances,” courts “will generally decline to pierce the

   corporate veil. ‘The party seeking an exception to the fundamental principle that a corporation is

   a separate entity from its principal bears the burden of showing that the court should disregard the

   corporate entity.’” Linus Holding Corp. v. Mark Line Indus., LLC, 376 F. Supp. 3d 417, 425

   (D.N.J. 2019) (quoting State Dep’t of Envir. Prot. v. Ventron Corp., 468 A.2d 150 (1983) (“Even

   in the case of a parent corporation and its wholly-owned subsidiary, limited liability normally will

   not be abrogated.”)). “To state a claim for piercing the corporate veil under New Jersey law, 6 a

   plaintiff must show that: ‘(1) one corporation is organized and operated as to make it a mere

   instrumentality of another corporation, and (2) the dominant corporation is using the subservient

   corporation to perpetrate fraud, to accomplish injustice, or to circumvent the law.’” Neuss v. Rubi


   6
      Note that even if the Court were to find that the law of Delaware (Gridiron’s place of
   incorporation) or Connecticut (Gridiron’s principal place of business) applied for the purposes of
   veil piercing, the analysis would be the same; both Delaware and Connecticut permits corporate
   veil piercing only under “exceptional” circumstances, such as where the corporation is a mere
   shell, serves no legitimate purpose, or is used primarily to perpetuate fraud or promote injustice.
   See Sprint Nextel Corp. v. iPCS, Inc., 2008 WL 2737409, at *11 (Del. Ch. July 14, 2008); McKay
   v. Longman, 332 Conn. 394, 433 (2019). Both Delaware and Connecticut use the same standards
   as New Jersey, requiring a showing of either instrumentality or complete domination. See, e.g.,
   Trustees of Village of Arden v. Unity Const. Co., 2000 WL 130627, at *3 (Del. Ch. Jan. 26, 2000);
   McKay, 332 Conn. at 441.


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   Rose, LLC, 2017 WL 2367056, at *3 (D.N.J. May 31, 2017) (quoting Bd. of Tr. of Teamsters Local

   863 Pension v. Foodtown, Inc., 296 F.3d 164, 171 (3d Cir. 2002)). Under the law, corporate veil

   piercing requires allegations of “gross undercapitalization[,] failure to observe corporate

   formalities, non-payment of dividends, the insolvency of the debtor corporation at the time,

   siphoning of funds of the corporation by the dominant stockholder, non-functioning of other

   officers or directors, absence of corporate records, and the fact that the corporation is merely a

   façade for the operations of the dominant stockholder or stockholders.” Id.

          Plaintiff has pled nothing of the sort. Instead, Plaintiff relies solely on throwaway

   allegations that Gridiron “exercised control” over RWS and “directed it to carry out the unlawful

   conduct” using its “actual or apparent authority to control RWS” “[d]ue to the ownership interests

   within the corporate family.” Compl. ¶¶ 164-65. Moreover, Plaintiff’s position is belied, if not

   entirely estopped, by its previous argument in this case that the Defendants “do not have a single

   decision-making source exercising definitive control over all of them.” ECF No. 147 at 13; ECF

   No. 163 (Plaintiff “contends inter alia that RWS, RWS II, Nationwide, and Gridiron are

   independently controlled entities.”); see Desrivieres v. United States, 2013 WL 3285235, at *2

   (D.N.J. June 27, 2013) (“The doctrine of judicial estoppel prevents a party from asserting a position

   in a legal proceeding that is contrary to a position previously taken by him in the same . . .

   proceeding.”). Having failed to demonstrate the “extraordinary circumstances” necessary to pierce

   the corporate veil, Plaintiff’s claims for vicariously liability should be dismissed.

   D.     Plaintiffs Fails to State Any of Its Underlying Claims Against RWS.

          Notwithstanding that dismissal of Gridiron is warranted for lack of personal jurisdiction,

   and because the Complaint comes nowhere close to alleging the required elements for imposing

   conspiracy or vicarious liability, the Complaint also fails even to state any predicate claim against

   RWS.     For the reasons summarized below, and those outlined in more detail in RWS’s


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   Memorandum of Law in Support of its Motion to Dismiss, which Gridiron fully incorporates

   herein, Plaintiff’s tag-along claims against Gridiron must also be dismissed because its underlying

   claims against RWS fail.

           Plaintiff Has Not Pled An Underlying Lanham Act Violation Against RWS.

       •   Plaintiff Fails to Allege That RWS Made False Statements. Plaintiff’s Lanham Act claim

           is premised solely on five discrete statements, allegedly made about HomeSource in the

           Newsletters, which Plaintiff badly mischaracterizes and misconstrues. Compl. ¶¶ 34-49,

           152-160.7 Plaintiff’s claims fails for the basic reason that none of these alleged statements

           are false.

           °   First, the Newsletters did not contain any false statements about the legal history of

               businesses owned by the White family. The July 20 Newsletter stated, “The White

               family, owners of HomeSource and similar other businesses, appear to have a history

               of their business relationships ending in lawsuits against them.” Compl. Ex. A at 5. In

               support of this statement—itself an opinion—the July 20 Newsletter provided

               summaries of three lawsuits filed in the U.S. District Court for the Western District of




   7
     Unlike its Lanham Act claim against RWS, Plaintiff does not expand its contributory liability
   Lanham Act claim against Gridiron to include allegations that RWS “plac[ed] phone calls to
   HomeSource’s customers and potential customers with materially false and misleading statements
   about HomeSource.” Compare Compl. ¶ 88 with Compl. ¶¶ 152-160. However, to the extent such
   an allegation is included in Plaintiff’s contributory liability Lanham Act claim—or incorporated
   into its civil conspiracy claim (discussed in supra, Section II.B and II.C)—such an allegation is
   not referenced or supported by any other factual allegations in the Complaint, and thus lacks the
   specificity and particularly required to survive a motion to dismiss. Cf., e.g., Collier v. CSX
   Transp., Inc., 2016 WL 9185133, at *1 n.1 (E.D. Pa. Mar. 23, 2016) (Robreno, J.) (granting motion
   to dismiss pursuant to Rule 12(b)(6)) and noting that“[a] claim has facial plausibility when the
   plaintiff pleads factual content that allows the court to draw the reasonable inference that the
   defendant is liable for the misconduct alleged.”) (quoting Iqbal, 556 U.S. at 688).



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               North Carolina against Plaintiff and Software Support-PMW, Inc. 8 Id. at 5-6. As the

               White family itself has testified, both Plaintiff and Software Support-PMW were

               founded by members of the White family, were and are solely owned by members of

               the White family, simultaneously operated out of the White family garage, and shared

               employees. 9 Plaintiff pedantically objects to the Newsletter’s use of the word “they”

               and “again,” focusing on the fact that neither it nor individual White family members

               were named as defendants alongside Software Solutions-PMW, a White family-owned

               business. Compl. ¶¶ 36-37, 39-41. Yet Plaintiff overlooks the fact that the relevant

               section of the Newsletter—including the term “they”—pertains to the White family and

               its businesses broadly. Compl. Ex. A at 5-6. It also entirely ignores the fact that

               Furniture Distributors Inc. accused the defendants in the Second Lawsuit—all White



   8
     These three lawsuits were Furniture Distributors, Inc. v. Software Support-PMW, Inc., a breach
   of contract suit filled against Software Support-PMW, Inc. (“Software Support-PMW”) in 2012
   (the “First Lawsuit”); Furniture Distributors, Inc. v. White, et al., a fraud suit filed against Plaintiff,
   Software Support-PMW, Greg White, James White, Sr., James White, Jr., Phyllis White, and other
   entities in 2015 (the “Second Lawsuit”); and Salas v. White, et al., a breach of contract suit filed
   against Plaintiff, Software Support-PMW, Greg White, James White, Sr., James White, Jr., Phyllis
   White, and another entity in 2015 (the “Third Lawsuit”). The Court may take judicial notice of
   documents “filed in another court to establish the fact of such litigation and related filings,”
   including “admissions in pleadings and other documents in the public record.” See, e.g., Fed. R.
   Civ. Proc. 201(b)(2); Marrakush Soc. v. N.J. St. Police, 2009 WL 2366132, at *6 n.14 (D.N.J. July
   30, 2009) (listing cases).
   9
     See, e.g., Ex. B. (Furniture Distributors, Inc. v. White, et al., No. 3:15-cv-00313, ECF No. 44,
   Ex. D (Deposition of Gregory L. White) (W.D.N.C. Jan 11, 2016)) at 3 (Gregory L. White is sole
   member of Plaintiff and brother of James White, Jr.); Ex. C (Furniture Distributors, Inc. v. White,
   et al., No. 3:15-cv-00313, ECF No. 31, Ex. 3 (Affidavit of Software Support-PMW by James
   White Jr.) (W.D.N.C. Nov. 12, 2015)) at 2 (James White, Jr. was an officer, director, and
   shareholder of Software Support-PMW); Ex. B at 7-8 (Plaintiff and Software Support-PMW
   shared employees); Ex. D (Furniture Distributors, Inc. v. White, et al., No. 3:15-cv-00313, ECF
   No. 44, Ex. E (Deposition of The HomeSource, Corp.) (W.D.N.C. Jan 11, 2016)) at 3-4 (Plaintiff
   and Software Support-PMW simultaneously operated out of the White family garage); each filed
   herewith.



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              family members and businesses, including HomeSource—of being alter egos of one

              another and of fraudulently transferring assets amongst themselves to avoid paying the

              judgment from the First Lawsuit. See Ex. G (Second Lawsuit Complaint). In fact, the

              entire Second Lawsuit was premised on the fact that HomeSource, Software Support-

              PMW, and other White family businesses were so indistinguishable that they should be

              considered one entity. Id. 10

          °   Second, the Newsletter did not “misrepresent[] that Martin Salas was a consultant hired

              by HomeSource.” Cf. Compl. ¶ 47. Plaintiff claims this statement is inaccurate

              because it “never hired or entered into any contract with Martin Salas directly.” Compl.

              ¶ 47 (emphasis added). Yet the July 20 Newsletter never says Plaintiff hired Salas

              directly, and Plaintiff conceded in its answer in the Third Lawsuit that it retained

              Salas’s company, S & S Management, Inc., 11 “to perform certain ERP system

              installation services and business development activities.” Ex. I (Salas v. White, No.


   10
      Plaintiff’s other Lanham Act allegations all extend from this pedantic construction, yet the July
   20 Newsletter accurately recounted each of the lawsuits. The jury in the First Lawsuit did in fact
   find that a White family business negligently misrepresented the capabilities of their software. Cf.
   Compl. ¶¶ 36-37; see also Ex. E (Furniture Distributors, Inc. v. Software Support-PMW, Inc. No.
   3:12-cv-00090, ECF No. 43 (W.D.N.C. Sept. 18, 2013)), filed herewith. The court in that same
   suit did in fact find that the counterclaims brought by a White family business were “totally
   meritless,” brought “as a defensive tactic,” and factored their frivolity and bad faith into its award
   of attorneys’ fees. Cf. Compl. ¶ 38; see also Ex. F (Furniture Distributors, Inc. v. Software
   Support-PMW, Inc., No. 3:12-cv-00090, ECF No. 52 (W.D.N.C. Feb. 4, 2014)), filed herewith.
   And HomeSource was in fact named in the Second Lawsuit alongside other White family members
   and businesses who had not made payments ordered in the First Lawsuit. Cf. Compl. ¶¶ 45-46;
   see also Ex. G. (Furniture Distributors, Inc. v. White, No. 3:15-cv-00313, ECF. No. 1 (W.D.N.C.
   July 17, 2015)), filed herewith.
   11
      North Carolina Secretary of State records confirm that Salas is the registered agent and president
   of S & S Management, Inc. See Ex. H (Salas North Carolina Secretary of State Records) filed
   herewith; see generally Fed. R. Civ. Proc. 201(b)(2); Murashko v. Hammer, 2018 WL 1022575,
   at *1-2 (D.N.J. Feb. 22, 2018) (holding that a court may take judicial notice of public corporate
   records).


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              3:15-cv-122, ECF No. 22 (W.D.N.C. May 29, 2015)) at ¶¶ 21, 23. While Plaintiff now

              seeks to quibble about the manner in which it hired Salas, its own prior court statements

              confirm that it did in fact hire Salas, as accurately stated in the July 20 Newsletter.

          °   Third, Plaintiff oddly claims that RWS “falsely implied that HomeSource ‘stole’

              images from a third party (Plessers).” Compl. ¶ 48. It is unclear to what Plaintiff is

              referring, as neither the word “stole” nor any derivation thereof appears anywhere else

              in the Complaint or in any of the exhibits attached thereto. See generally Compl.; id.

              Exs. A-B.

          °   Fourth, RWS’s statement about a “possible major security concern” is on its face a

              statement of opinion. See Compl. ¶ 51, Ex. A at 5. Indeed, Plaintiff itself concedes

              that this statement is an opinion, describing it as “Jim Kane explain[ing] how he

              believes one could hack into HomeSource’s system.” Compl. ¶ 53 (emphasis added).

              The law is clear that such statements are “not actionable under Section 43(a)” of the

              Lanham Act. EP Henry Corp. v. Cambridge Pavers, Inc., 383 F. Supp. 3d 343, 349

              (D.N.J. 2019); see also Cannella v. Brennan, 2014 WL 3855331, at *6 (E.D. Pa. Aug.

              6, 2014) (“[O]pinions are not actionable, and only statements of fact capable of being

              proven false and/or verifiable are actionable under the Lanham Act.”); Groden v.

              Random House, Inc., 61 F.3d 1045, 1051 (2d Cir. 1995) (“[S]tatements of opinion are

              generally not the basis for Lanham Act liability.”).

      •   Plaintiff Fails to Allege Deception or Materiality. In addition to the fact that the statements

          at issue are true on their face, the Newsletter provided links to the case dockets and

          litigation documents referenced therein, providing recipients with a full and transparent

          opportunity to review and assess the lawsuits and their allegations themselves. Compl. Ex.


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            A at 5-6. Thus, even if a reader somehow badly misconstrued the Newsletter in the way

            Plaintiff does here, RWS also provided full access to the source material such that there

            could be no such misunderstanding based on the complete disclosures made by RWS.

            Likewise, while Plaintiff repeats the throwaway allegation that the Newsletter

            misstatements were material, at no point in its Complaint does Plaintiff allege how the

            alleged deception was “material in that it [was] likely to influence purchasing decisions.”

            Interlink Prods., 2016 WL 1260713 at *3 (citing Warner-Lambert Co., 204 F.3d at 91-92).

        •   Plaintiff Fails to Allege Injury. Plaintiff provides merely conclusory allegations that “[a]s

            a result of RWS’s conduct, [Plaintiff] has been damaged.” Compl. ¶ 91; see also id. ¶¶ 28-

            55; 85-91. The Complaint is entirely void, however, of any allegation as to how the five

            discrete statements underlying Plaintiff’s claim injured Plaintiff or caused it to lose a single

            contract or prospective customer. Such a “formulaic recitation of a cause of action’s

            elements will not do” and cannot survive a motion to dismiss. Woloshin v. N.J. Trans. Bus

            Ops., 2016 WL 5660427, at *2 (D.N.J. Nov. 3, 2014) (dismissing claims for failure to plead

            facts suggesting “a causal relationship” between the alleged wrongdoing and an alleged

            injury) (quoting Twombly, 550 U.S. at 555; citing Iqbal, 556 U.S. at 678). 12 Similarly, with

            respect to the “possible major security concern,” Plaintiff itself acknowledges that the

            video linked from the Newsletter “provided steps” for recipients to demonstrate for




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      Moreover, nowhere in its complaint does Plaintiff allege that the Newsletters, or any other
   product related to its Lanham Act claim, travelled in interstate commerce. On the contrary, the
   only mention of interstate commerce in the Complaint pertains to Plaintiff’s own websites as part
   of its Computer Fraud and Abuse Act claim against RWS and John Does. Compl. ¶¶ 133, 136,
   140. Plaintiff has therefore failed to state a claim for false and misleading advertising. Interlink
   Prods., 2016 WL 1260713, at *3.


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          themselves the possible security issues, again negating the possibility of any deception.

          Compl. ¶ 53.

          Plaintiff Fails to State a Claim for Defamation.

      •   Plaintiff Fails to Allege Any False or Defamatory Statements. A defamatory statement

          must be false, and “statements of opinion and name-calling, which cannot be proved true

          or false, are not actionable.” Marino v. Westfield Bd. of Ed., 2017 WL 216691, at *9

          (D.N.J. Jan. 18, 2017) (quoting Edelman v. Croonquist, 2010 WL 1816180, at *3 (D.N.J.

          May 4, 2010)).     Moreover, “[t]he law of defamation overlooks minor inaccuracies,

          focusing instead on ‘substantial truth,’” and “[m]inor inaccuracies do not amount to falsity

          so long as ‘the substance, the gist, the sting, of the libelous charge be justified.’” G.D. v.

          Kenny, 205 N.J. 275, 294 (2011). A court must consider the statement as a whole. Id. For

          the same reasons that Plaintiff’s Lanham Act claim fails, so too does its defamation claim.

          Plaintiff Fails to State Any Claims for Tortious Interference.

      •   Plaintiff Has Not Adequately Pled the Existence of a Contract or Prospective Economic

          Relationship. “[T]ortious interference with contractual relations claim requires proof of an

          existing contract.” Creditors Relief LLC v. United Debt Settle. LLC, 2019 WL 7288978,

          at *12 (D.N.J. Dec. 30, 2019). Similarly, to plausibly plead a tortious interference with

          prospective economic relationship claim, Plaintiff must assert facts demonstrating that it

          was in pursuit of an economic opportunity; “[t]he law does not protect every hope or wish

          for profit.” Hill v. Com. Bancorp, Inc., 2011 WL 13146435, at *3 (D.N.J. Feb. 28, 2011).

          Here, however, Plaintiff does not identify any such contract or relationship, and instead

          vaguely asserts a “contractual relationship existing between HomeSource’s customers and

          Homesource” and that “a valid and enforceable contract existed between these [unnamed]



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          parties.”   Compl. ¶ 108.    Such a conclusory allegation of a contractual relationship

          categorically fails the federal pleading bar for a tortious interference claim. See, e.g.,

          Creditors Relief, 2019 WL 7288978, at *12-13 (dismissing tortious interference with

          contract claim where the plaintiff did not identify a single specific contract or lost customer

          and holding that plaintiff’s assertion that it “had a reasonable expectation of economic

          advantage with respect to…clients and/or potential clients” amounted to a conclusory

          allegation insufficient to support a tortious interference with prospective economic

          advantage claim).

      •   Plaintiff Has Not Pled Malice. Although Plaintiff baldly asserts that RWS’s alleged

          interference was “willful[], malicious[], and intentional[],” it fails to allege any facts

          supporting the requisite allegation of malice. Compl. ¶ ¶ 100-02; 109-11. This alone is

          fatal. See Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555, 557) (“A pleading

          that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of

          action will not do[;]’ nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid

          of ‘further factual enhancement.’”). Moreover, “[i]t is clearly established under New

          Jersey law that [a party] that gives truthful information to [another party] does not act with

          malice and that providing truthful information is simply not actionable.” Luttmann v.

          Tiffany & Co., 2009 WL 197520, at *2-3 (D.N.J. Jan. 26, 2009) (listing cases). Because

          the statements in the Newsletters were demonstrably truthful, as noted above, by definition

          their publication and circulation cannot have been done with malice. See supra, Section

          II.D.1.

          °   Furthermore, “[t]here is no legal prohibition against targeting a specific competitor in

              the marketplace. Courts have held that this is, in fact, the very essence of competition.”



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               Ideal Dairy Farms, Inc. v. Farmland Dairy Farms, Inc., 659 A.2d 904, 933 (N.J. App.

               Div. 1995). “[R]ivalry and rank animosity” simply do not meet the “legal standard for

               malice in tortious interference cases.” Id. Thus, RWS’s actions—even if “motivated

               by spite and [] directly aimed at hurting the [P]laintiff’s business[—] did not rise to the

               level of tortious interference because [D]efendant[s] had a legitimate business reason

               to ‘target’ the plaintiff, regardless of any other motivation.” Cargill Glob. Trad. v.

               Applied Dev. Co., 706 F. Supp. 2d 563, 576 (D.N.J. 2010) (quotations and citations

               omitted).13

        •   Plaintiff Has Not Adequately Pled Any Proximate Injury or Damages. “Plaintiff must show

            that if there had been no interference, there was a reasonable probability that the victim of

            the interference would have received the anticipated economic benefits.” Diversified

            Indus., Inc. v. Vinyl Trends, Inc., 2014 WL 4199059, at *5 (D.N.J. Aug. 22, 2014). It must

            also identify economic damages “with a certain degree of specificity. Claimed loss of

            unknown customers is insufficient.” Graco Inc. v. PMC Global, Inc., 2012 WL 762448,

            at *17 (D.N.J. Feb. 15, 2012). The Complaint, however, fails to identify a single lost

            contract or business opportunity. Instead, Plaintiff puts forth only conclusory allegations

            that RWS “caused HomeSource a loss of prospective economic gain” and that “as a direct



   13
     In addition, Plaintiff’s tortious interference allegations with respect to RWS’s “various unlawful
   cyber activities” and “logging into HomeSource’s websites” are completely threadbare. Compl.
   ¶¶ 110-11, 118-19. “Interference is intentional when ‘the actor desires to bring it about or if he
   knows that the interference is certain or substantially certain to occur as a result of his action.’”
   Cargill, 706 F. Supp. 2d at 575 (quoting Dello Russo v. Nagel, 358 N.J. Super. 254, 268 (App.
   Div. 2003)). Plaintiff fails to plead any facts at all regarding how this alleged cyber conduct was
   performed with a purpose or desire to interfere with one or more of Plaintiff’s known contractual
   or business relationships. Compl. ¶ 77. Plaintiff’s threadbare assertion that RWS acted
   “intentionally” does not save this otherwise deficient pleading. See Iqbal, 556 U.S. at 678; Compl.
   ¶¶ 102, 111.


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          and proximate result of RWS’s conduct, HomeSource has been and continues to be

          damaged.” Compl. ¶¶ 104-05, 113. These types of self-serving statements are insufficient

          to survive dismissal. See Adv. Oral Techs., L.L.C. v. Nutrex Research, Inc., 2011 WL

          1080204, at *4 (D.N.J. Mar. 21, 2011) (“Plaintiff ‘must allege an injury that is more

          concrete than lost business of unknown, unsolicited, or hypothetical customers.’”); Koger,

          Inc. v. Klco, 2009 WL 905061, at *5 (D.N.J. Mar. 9, 2009) (dismissing tortious interference

          claim where the plaintiff merely claimed that “it has lost or may lose business as a result

          of Defendants’ tortious conduct”).

          Plaintiff Fails to State a Claim for Unfair Competition.

      •   Plaintiff’s Claim for Competition Fails As a Matter of Law. Federal unfair competition is

          brought under Section 1125(a)(1)(A) of the Lanham Act and relates entirely to trademark

          infringement. See Bd. of Dirs. Of Sapphire Bay Condominiums West v. Simpson, 641 F.

          App’x 113, 114 (3d. Cir. 2015). New Jersey common law unfair competition claims

          “generally parallel those under § 43(a) of the Lanham Act.” Cambridge Pavers, Inc. v. EP

          Henry Corp., 407 F. Supp. 3d 503, 509-510 (D.N.J. Sept. 10, 2019) (incorporating its

          Lanham Act analysis and dismissing claims). Nothing in Plaintiff’s allegations even

          remotely relate to a legally protected mark, and Plaintiff’s federal unfair competition claim

          should therefore be dismissed.

      •   Plaintiff’s Common Law Claim For Unfair Competition Is Duplicative of Its Tortious

          Interference Claims and Should Therefore Be Dismissed. See Diversified Indus., Inc. v.

          Vinyl Trends, Inc., 2014 WL 1767471, at *6-7 (D.N.J. May 1, 2014) (listing cases and

          dismissing claim as duplicative where the “factual basis for the unfair competition claim is

          the same as for the tortious interference [c]ount”).



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          Thus, apart from failing to establish personal jurisdiction over Gridiron, and failing to make

   out any basis of liability against it, Plaintiff’s predicate underlying claims against RWS are also

   fatally defective, requiring dismissal of the Complaint against Gridiron three times over.

                                            CONCLUSION

          For the reasons stated above, Gridiron’s motion to dismiss should be granted.




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                                                 Respectfully submitted,


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